Case 2:03-CV-02595-SHI\/|-STA Document 54 Filed 06/13/05 Page 1 of 2 Page|D 67

UNITED sTATEs DISTRICT coURT F"ED ES`\"\].-QU 'D.C.
wEsTERN DISTRICT oF TENNESSEE
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MICHELLE R. MILLNER,

Plaintiff,

v. Cv. No. 03-2595-Ma

E.I. DuPONT DeNEMOURS, IN'C.,r

Defendant.

JUDGMENT

Decision. by' Court. This action came for consideration

before the Court. The issues have been duly considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in

accordance with the Order of Dismissal With Prejudice, docketed
June 8, 2005.

APPROVEB:J // 411

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRIC'I' JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
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Honorable Samuel Mays
US DISTRICT COURT

